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          EXHIBIT 1
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                                . INDENTURE OF LEASE                        -2.


1_             THIS INDENTUREy of Tease dated the / 5~    day of~:~•~»~:~f~r,
j 1977. ~ by and between/~.,-„~Y .f'.Fi:'GT y ~cl~iljSlv~~ Lc• /4 G~n~
  party of the first pant, hereinafter referred to as ~Lessar",
     and GIRARD TRUST DANK a Pennsyl.va2aia banking corporation, having
 'ids registered office at Sala and'City Line Avenues, Bala Cynwyd,
  Pennsylvania, 19004,:perty of the second part, hereinafter referred
     to as "Lessee",

                                W I'T N£ S S E T H

                                      r~~rrzc~.~ x
                           PEFSISEA PREMISES--TERM OP LASE

               Section 1.01. What I.essox, for and in consideration
     of the rents; covenants and agreements hexsinafter reserved,
     mentioned and contained on the part~aE Lessee, its successors
     and assigns, to be paid, kept, observed grid performed, has leased,
     Rented, let. and demised, and by these presents does lease, rent,
     let anti demise, unto Lessee, and L~cssee does hereby fake and
     hire, upon and subject to the conditions and limitations hereinafter
     expressed, all that certain lot or piece of ground with the
     buildings and improv~raenta thezeon erected, described in Exhibit
     "A", attached hereto and made a part hereof;

                TOGETKER with a17. and singular the ways, easementsW
     Xi,ghts, privileges and appurtenances to the same belonging or
     in any Wise appertai.ninq, and all the estate, right, tile,
         reist and claim, either at law a•r in equity, or otherwise

 ~       ver, of Lesson of, in, to,o.x out of the said lot ar piece
     a ground;

     Subject, However, to:

               (1)   Discrepancies or conflicts .in boundary tines,
                     enaements, encroachments -or area content which
                     a satisfactory -survey would disclose.

               (2) .Present and future zoning laws, ordinances, resolu-
                    tions and regulations of trie City. of Philadelphia
                     ar`~d all present and future ordinances, laws,
                     regu~,atfons ttn& orders of all. boards, bureaus,
                     commissions and bodies of any municipal, county,
                     state or federal sovereigns now or hereafter
                     having or acquiring jurisdiction of the property
                     hereby demised and the use and improvement therea£;

               (3)     Violations of law, o~6inances, orders ox require-
                       ments that might, be disclosed by an examination
                       and inspection or search of the propertiy hereby
                       demised by any ~e~e=al, State or municipal depazt-
                     ments oz' authority havinr, jurisdiction, as the
                     same may exist on the date a£ the commencement
                     of 4he tezrn of t.2a;s :,ease , and which the Lessee
                     covenants and agrees to remove promptly;




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•                                                                (~
                                                                 ~J
          (4)   The condition tsnd state of repair of the property
                hereby demised as the same may ba.on the date
                of the commencement of the texm of this Luse;

          (5)    All asseasments, _aater meter and water charges
                 and aerrer rents,_accrued, fixed oz not fixed.

          (6)   The obrjections to ti~Ie aet forth on 8xhibit
                "~", attached hereto and wade a part hereof.

            The said lot or piece a~ ground; and the buildings
and 3.mprovements now ar hereafter erected thereon, together
Stith the 'said ways, and estate, and subject to nll matters and
things h~zeinA2aove set Earth in snbpare~graphs (1) to (b), inclusive,
constitute axed are hereinafter zeferred to as the "Demised Premises".

           Section 1.OZ. TO'HAVE ARID Td HOLD the pemised Premises,
subject as aforesaid, unto Lessee,"and subject to the. terms,
cover~anta, agreements, provisions., aoncliti.on& and limitations
hereof, its successors and assigns for the tezm coaupencing on    r
the date hereof ar►d ending upon the expiratl.on of ~.hir-ty (3U)
years ~hereaftez, unless this Lease shall sooner terminate as
hereinafter provided.                                   '

           Section 1.03.; Provided Lessee is not then in default
hereunder, Lessee shall have the option of renewing this Lease
for three (3) sucae~sive terms;of ten (10) years each by giving
wrritten notl.ce thereof to. Lessor at least nine (9) months prior
      e expiration of the then current term. Said renewal terms
       be upon all of 'the terms, covenants and canditzons as
      riginal term except for the provisions of this Section
1.03.
           Section 1.04. This I,.ease is made u=,on the following
terms, covenants, agreements, provisions, conditions and iimitakions,
all of which Lessor and `t,essee, with zespect to ~he sane on
their respective parts to be accep'ked, kept, observed and performed,
covesiant and agree to accept, keep, observe and pezform:


                                    ART {CLB. 2

                                      RENT

            Section 2.01. T,essee .covenants and agrees to pay
Lessor at t:~e ~iddress specified, pursuant to the provisions
of Section 20.01 of this Zease, a net basic annual rent of
                          rTyA, iry,c~) bollars to be paid in equal
monthly installments of                        ~~`~~y Z,g~~Dollars
on the first day of each calendar month in'adfanc~,        aid net
basic annual rent f.s hezein sometimes referred ~c as "Net •Rent".
 Rent from the date hereof to the end c~ ttSe current month shall
'.~E apportioned a,nd paid on tre dare hereof. Rent payable on
 the first day of the last month' c~ the ce,rrn hereof sha11 be
similarly appartS.oned.

           Section. 2.02. Tnc r.et rent s::all be paid to Lessor
by. Lessee ~ri,t:~out notice a:. ne,:.z _~ ono M~~ho-1t abatenen~, deduc--
tion or.9et-off.




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           Section 2.03. It is .the puzpose and intent of i.essar
and Lessee that. the net' rent shall be absolutely net to the
Lessor, so that this Lea9e shall yield, net to Lessor, the net
rent specified in Section 2.p1 hereof in each year during the
term of this Lease and that all Gosts, operating expenses, Impasi--
kions, premiums, fees, interest, charges, expenses, reimburseasents
and obliga.tians 'of every. kind and nature whatsoever rElating
to the Demised Prem3.ses, excepting only certain taxes of Lessor
as provided in Section 3.02 of Article 3 hereof, which may axise
or become due during or out of the term of this Lease, shall
be paid or discharged by the Lessee .as additional rent, and
that .Lessor sha12 be indemnified and saved harmless by Lessee
from and against such costs, operating expenses, Impositions,,
premiums, fees, interest, ~charges, expenses, reimbursements
and ohllga~ivns.

           Section 2.04. Lessee shall pay without notice, except
as may be required in this Lease, and wirfsout abatement, deduction
car set-off, as additional rent, aTl sums, ]Cm~sositions (as defined
in Axticle 3 hereof) , costs, operating expenses, prem~.ut~s, fees,
interest, charges, e~e~ses, obligations, reimbursements and
tither payments which Lessee in any of the provisions of this
Lease assumes or agrees to pay or which Lessee agrees ase to
be at the expense of T.essee, and,~in the event of non-payment
thereof, Lessor shall have, itx addition to 311 other rights
and remedies, a13 the rights and remedies provided foz herein
and by law in the case of non-payment of the net rent.


                                ARTICLE 3

           PAYMENT OF TAXES, A5SESSMEN~S, A2JD CARRYING CHARGES.

           Section 3.01. Lessee shall pay ox cause to be paid
(except as hereinafter in Section 3.02 hereof provided), befoze
any fine, penalty, interest or gast raay be added thereto, a21
real estate taxes, assessments, sewer rents, watez meter and
water changes, excises, levies, license and permit fees, charges
far public utilities and all other charges or burdens of whatsoever
kind and nature, without particularizing by name, and wY~ether
and of the foregoing be ~genezal ar special, ordinary or extzaordinaxy
or radical, foreseen or unforeseen, whioYi ,at any time prior
to or during the term of~this Lease may Have been, or may be
assessed, levied, confirmed, impaled upon, or grow or become
a lien on, the Demised Premises ar any part thereof, or any
appurtenance thereto, c1r any sue oz occupancy of the Demised
Premises and Building, ox such rights,, obligations, easements,
and fzanchises as may now or.he~eafter be appurtenant, or appertain,
to the use of the D.emis~.d Preu~ses, this. tzansaction or any
dacucnent to whzch Lessee is a party or successor in intezest,
czeating ar transferring an estate o,: interest in the demised
Premises,• (all. such real estate taxes, assessments, sewez rent,
water meter and wa=er charges, excises, leviers, license and
permit fees, and public utilities and all other charges or burdens
of whatsoever kind..and nature, being herein referred to as "Impositiaras",
and any of the same being hereinafter refe~red to as an "Imposition");
provided, however, t~'at an,~ Imposition relating to a fiscal
period of the taxing authority, ~ part of which period•is included


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 within the term of this I.eage and a part: of which is included
 inn a period of .time after the exp.irat.ion of the term of this
 Lease, shall, whether or trot such Imposition shall be assees.ed,
 levied, confirmed, .fmposed upon or i.n respect of or become a
 lien upon the Demised Premises, or. shall become payable, during
'the term of this Lease, be adjusted between I.sasor end"Lessee
 as of the expiration of the term of this Lease, so that Lessee
 stall pay that portion of such Imppsi~ion which that part of
 such fiscal period included In the period of time before the
 expiration of the term of~thl.s Lease bears to such fiscal period,
 and Lessor shall pay the remainder Y~iereof, provided, however,
 that Lessee shall not be entitled to receive any apportionment,
 if Lessee shall be in default in keeping, observing ar performing .
 ar~y of the terms, covenants, provisions, cond'itidns ox limitations
 of this Lease on Lessee`s part to be kept, obsezved or perfozmed,
 as provided in Chia Lease or i~ Lessee shall exercise the option
 to ter,ainate this Lease pursuant to the provisions of subdivision
 (b) of Section 15.03 of'this Lease.

           Section 3.02.. Nothing herein contained shall require
J.e&see to pay. municipal; state, or federal income ar gross receipts
ar excess profits taxes easesaed against Lessor, ar municipal,
stake, oz federal capital levy, estate ,succession, iriheritanee
or transfer taxes of Lessor, ar corporation franchise taxes
imposed upon any corporatie owner of the fee of the Demised Premises.

           Section 3.03. Lessee shall, at the request of Lessor,
 furnish to Lessor r+ithin ten (10~ days after the date when any
 Impositxan is required to be paid pursuant to Section 3.01 hereof,
   ceipts of the apprdpriate taxing 3or other authority, or other

~    ence satisfactory to Lesser, evidencing the payment thereof.

            Section 3.04. Lessee shall have the right to contest
 the amount or validity, in whole,or in part, of any Imposition
 by approgiria~te proceedings diligently conducted in good faith,
 in which e~cent, notwithstanding the pravlsians of •Secti.an 3.01
 and 3.03 hereof, Lessee may postpone ar defier payment of such
 ImposS.tion if

                   (a) neither the Demised Premises nor any part
              thereof would by reason of such postponement ar defer-
              ment be in danger of being forfeited~-or lost, and
                       .              i
                  . (b) if requested by Lessor, Lessee shall have
              deposited into tin escrow account at Lessee or another
              reputable bank (anc deliverer] to Lessor a .recei.pt and
              ac}cnowledgment that such fund will be held and applied
              pursuant to the tezzas of this Section 3.04) , the amount
              so contested and unpaid, tcgether with all interest
              and penalties in connection 'therewith and all charges
              that may or might be assessed against ~r become a
              charge on the ~~~ised Premises or any part thereof
              in such proceed;.:.gs.

 Zf, during the continuance o-.' such proceeci.r~gs, Lessor shall
 from time to time, deem t'r►e a:►ount depos~~zd, as aforesaid,
 ir,su;ficient, the Lessee stall, upon demand, make additional
 deposits of such additianai sums as Lessax° :easanably may request,
 and, upon fai.ure of Lessee sc to ac, the amounts theretofore
 deposited n«y be applied b}• I.esso_~ ~o the payment, removal and
 discharge cf such Zmposi~io:, and the interest and penalties
 in connection. therewith anc any costs, fees, including counsel
 r
 ~~

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                             .          ~                        ~J
 ~,and any other 2iabila,ty accruing i.n any such proceedings.
 Upon the termination of any such prcceedings, Lessee shall pay
 the amount of each Imposition or pAzt thereof, if any, as finttlly
 determined in such praceedi.itgs, the payment of which may have
 been deferred during thQ prosecution of such proceedings, together
 Frith any,caste~, fees including counsel fees, ~ntere9t, penalties
 and any- other liability► in cannectioz~ therewith. Upon such
.ptsyment by I.easee, Lessor ahall'retur~, without interest, all
 amounts deposited with :it with zegpect to .such xmpositi.an as
 aforesaid, less any such amounts paid by Lessor to satisfy the
 Lnpoaitian !.n whole or i.n part according to the tezrns hereof,
 or, at the written direction of the Le9ase, the Lessor sha12
 make sack payment, and the ba2a~lce, if any, shall be returned
 to the I.Bsaee. In lieu bf a cash deposit Lessee array furnfsh
 Lessor ~r.~th athez eecwri'ty reasonably satisfactory to Lessor.

          Lasses shall be entitled to any zefund of any Imposition
and penalties and interest received thereon by Lessor which
have been paid by Lessor bud for w~ich Lessor has been previously
reimbursed in full by I.~ssee, pzov ded this Lease is,'at such
time, maintained in good standing.

             Bastian 3.05. Lessor shall no't be required to loin
•in any proceedings referred to in Section 3.04 hereof unI.ess
 the provisions of any law, rule or regulat5.on, at'the time in
 effect shall xequire that such proceedings be brought by or
 i~ t2xe name o~ Lessor. i.n which event I.esacir steal' join in such
 proceedings or permit the name to be brought in i.es name upon
 compliance with Such conditions as I.essoz may reasonably require.
 Lessor sha21 not u2timate2y be subjected tia any liability Eor
 the paywent o~ any fees, including. reaaanable counsel fees,
        or expenses 1.n connection with such proceedings. Lessee

~      s t,o pay all ouch fees, including reasonable counsel fees,
        and expenses or, on demand, to make reimbursement to Lessor
 for such paysnerit.

            Section 3.06. The certificate, advice or bill of
 the appropr3.ate official, desi.gnatec ~y law to make oz issue
 the same or ko zeceiye payment of any~Imposition or of nan-
 payment of such Imposition may be relied on by the Lessor as
 sufficient evidence that such Imposition is due and unpaid or
 has been paid at the time of the making ox issuance of such
 certificate, advice or bill.


                                  ARTICLE 4

                                  SLRRENA~R

            Section 4.01. Crosses shall and will an the last day
 of the term hereof or upon any earlier tezmination of this Lease,
 or upon any entzy ar re-ent7ry by Lessor upon the pemised Premises
 ~rursuant to AXt~cle 18 hereof, we]:l and truly surrender and
 deliver up the DemS.secl Prenises into t#~e possession and use
 of Lessor without fraud or delay arid, subject to the provisions
 of subdivision (b) of Section 15.03 of this Tease, i.n goad ordar,
 condition and repair, zeasona,~le wear and tear excepted, free
 and clear of al,l lettings and accupa~ci,es othez than subleases
 and licenses then terminable at the option of the I.esgar or
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                                                               U
subleases and licenses, the can~inuance of which Lessor shall
  ve specifically and expYessly permitted, and free and clear
   all liens and encumbrances other than those hereinabove men-
 ioned az hereafter created by Lessor.

           Section 4.02. All fixtures, machinery and equipment
necessary fax the general operation of the bernised Pxemises
tnot apecifical~.y as a bank) shall, thrnughaut the term of this
Lease, be the property of the .tensor and none of the same shall
be removed from the Demised Premises, excepti.nq for puirposes
of repair or replacement with aimi.lar or other equipment ox
other arrangement. equally suitable ,for continuance of such operation
of the Demised Premises. Lessee shall keep and maintain such
fixtures, machinery ar►d equipment at~all times throughout the
term of this I,case in goad and usable condi~ian with all necessary
replac~aents .thereof, sufficient far the general opezatiar► of
the Dert►ised Premises and shall deliver the dame in such condition
to Lessor as additional rent a~ termination of Lesaea's tenancy
hereunder.

           Section 4.03. Any Made fixtures and equipment (S.s~cludinq,
but not Ii,mited to ban3cing and tellers' scree»~, signs and plaques,
vault, vault doors, lining. and screens, money safes, alartas and
athez protective devices, and night and drive-in depositories)
installed or used by Lessee in tMe operation of the Aemi~ed
Premises for the uses specified in Artic3.e 12 of this Lease
shall be the propsrty of Lessee and, slang with any'othez personal
property'of T,essee or any sublessee which shall remain an the
pemised Premises, or any part thereof., after the termination
or expiration of this Lease and the removal of Lessee ar such
Sublessee from the Demised~Premises may, at the option of Lessor,
be deemed to have been abandoned by Lessee or such Sublessee
acid either may be retained by Lessor as its property or be disposed
vf, without accountability, in such manner as Lessor may see
       Lessor agrees to ~htain such wavers or consents as Lessee
     reasonably request to protect Lessee's interest therein.
   ~aee may remove all such items from the Demised Premises and
wi~.l remove any of such items ak T,essor's request, upon expiration
or sooner termination of the term of this Lease, and will zepai.r,
at its sole cost axed expenae,.any damage resulting thex-efrom.

          Section 4.OQ. Lessor shall not be responsible for
any lass ar damage accurriny ~c any property awned by Lessee,
any sublessee, oz any accupane.

          Section 4.b5. The provisions of this Article 4 shall
survive say ternr~ination ar expiration of this Lease, includi.ny
a termination pursuant to one provisions of subdivision (b)
of Section 15.03 of thia•Lease.


                                 ART'ICL£ 5

                                 I~SLFc:ti,`CE

           Sectic: S.O1. .Lessee, at its sole cost and axpense,
 stall keep the Demised Premises and the furniture, furnis:~.ngs,
 fixtures, machinery and ec~:p~er.~ therein, insured against loss
 or damage by fire and aga~:~st l.a~s ar dan:aye by' such other risks
 now or hereafter erbracec ~y "~xLenced C:.verage" , -so called.

           Such insurance shalt ~e raa ntained by Lessee during
 the entire term cf this Lease `cx a sum not less than 80B of
                                  i




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the full insurable value _of the Demised Premises and the furniture,
furnishings, fixtures, machinery and equipment.

          Section S.a2. In addition to the insurance required
   Section 5.01 above, Lessee, at its sole cost, and expense
shall purchase and maintain- during the entire tern► of thi.e Lease

               (a) Comprehensive bodily in~uzy and property
          damage liabiJ.ity insurance against claims for bodily
          injury, death or properky damage, occurring in; on,
          or about the Demised F'remises~ar the elevators or
          any escalator therein and 'on, in or about the adjoin-
          ing streets, avenues, property and passageways, naming
          the Lessor and. the Lessee as the insureds, such insurance
          to afford minimum pzotection, during the term of this
          Lease, of not less than Five Hundred Thousand and
          00/100 Dollars (5500,000.00 in respect to bodily
          3,njn=y or death to any one person, and of not less
          than One Million UO~.}dZS•(~1r000~OOO.OU) in respect
          of any one accident and of not less than One Hundred
          Thousand and 00/10.0 Doll.aza (5100,000.04) for property
          damage. Lessee shall obtain and maintain, at its
          sole cast and experise, such additional liability in~urar~ce
          and in such additional .amounts as rosy be reasonably
          required by Lessor, from time to~time.

               (b) Such other insurance insuring against such
          zisks, in such=amounts with such protective provisions
          as may be reasonably required ~rora time to time by
          Lessor and . Mortgagee. of the fee if the earae.is custom--
          arily req+xired,for similaz buildings or operations.

          Section 5.03: All insurance provided for in this
article 5 shall be effected under valid and enforceable policies
ia~ued by insurers of recognized responsib9.lity which are licensed
   do business in the Commonwealth of Pennsylvania and which
     been approved in writing by.~.essor and Mortgagee of the
    of the Demised Premises, as ta•• the qualifications of insurers
and the amounts of insurance to be wxitten by each. Upon the
execution of this Lease, and thereafter not less than twenty
(20) days prior to the expiration dates of the expiring policies
theretofore furnished pursuant $o this Article 5 originals of
the policies, or ceztificates thereof 'in the case of bodily
injury and property damage liability insurance or in the case af.
casualty insurance written undex a blankest policy, bearing notations
evidencing the payment af~ premiums or accompanied by other evidence
of such pay'merit, shall be ciglivered by Lessee to the person
ox entity entitled to approve any insurance company as provided
above in this Section.

           Section 5.04. The proceeds of any insurance required
to be maintained by the p^avisians of Section 5.01 axed 5.02
(bj~ and (c} .shall be paya.le tc: ,

               Lessee i.n tn2 case of a^y par~icular casualty
               resulting in damage ::: destruction not exceedir.~
               in the aggregate Fifteen Thousand and 00/100 Dollars
               {515,000.dC) excius:.ve of Lessee's ts'nde fxxtuxes
               and equipmen~ as.~escribed jn Section 4.03 hereof,
               which pracee~s saall be received in trust for
               the purposes a~ paying tae cost of•restaration
               free from mec?:unics and other liens;




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                                                                     LU
          2.   Mortgagee~of the fed (as hereinafter defined in
               Section_1~.06) oz i:E there •is no Mortgagee of the
               fee, then I~esaee or~anathez bank with a construction
               loan department (at Lessee's sole cost and expense),
               in case of arty partfcular casualty resulting in
               damage or des~tructiain exceeding in the aggregate
               Fifteen ,Thousand and 00/100 Dollars (SI.5,000.0~)
               exclusive o~ Lessee's trade fixtures and equipment
               as de~cxihed i,n Section 4.03 hex'eof, which proceeds
               sate to be held. and diseased of pursuant to, and
               unifier the conditions set Eorth in, Article 15
               a:E this Luse.

           Section S.OS. Each policy, hereinabove in this Article
S anentioned and required, shall. to the extent obtainable, have
attached therata (a) an eadarsement that such policy shall not
be cancelled or materially chatiged without a~ least ten {~0)
days' prior written notice to the ~2.esaor and Mortgagee of the
fee; and (b) 'an e»daXa~meat to the effect that na act or omission
of the Lessee shad invalidate the interest of such person or
enkity entitled to such nati,ce.


                                    ARTICLE 6

               LESSOR` S. ~tIG2i7~` TO PERFORM LESSEE' S COVENANTS

            Sec~ian 6.01. I~ Lessee shall at any time fail to
 pay•any Ymposition, in accordance with the provisions - of Article
 3 hezeof, or to take out, pay for, maintain and deliver any
of the insurance policies provided for in A#ticle 5 heraof,
.after ten (10) days' notice to Lessee fiat without notice in case
of an emergency), or shall Anil to make any other payment or begin
t      rfozm any other act on its part to ba made oz perfozmed
       n twenty (20)•days after native to :Lessee (or without notice
       e case of an emergency) and puX~ue such performance with due
 diligence, then Lessor~subjegt to Lessee's reasonable security
 requirements and without wa3ving, or releasing Lessee from,
 airy obligation of-Lessee cdatained in this Lease, may, but shall
 be unde7r no obligation to--       ,

                (a) pay any impoa~~~ion payable by Lessee pursuant
           to the provisions of Article 3 hereof, or

                (b) take out, pay foi and maintain any of the
           insurance polic~.es provided for.iri'Article 5 hereof,
           or

                 (c) make any other payment ox perfo~nn any other
           act on Lessee's part~to be made or performed as in
           this Lease provided; ~and uiay entez upon khe Demised
           Premises far any such puzpose, and take all such action
           thereon, au may be necessary therefor; pzovided that
           I,easor shall take no Such action if Lessee has paid
           such Imposition ana given notice to Lessor prior ko
           such action.

          Section 6.02. All earns eo paid ~y Lessor a^d all
costs and expenses, including reasonable attorney's fees, incurred
by Le9sor in connection rYith the p~zforman~e of any such act,




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 together with interest thereon at the rate of one-half per cent
 {l/2e) per annum over the then przme rate in Philadelphia from

.the respective dates of Lessor's making of each such payment
 or incurring~of each such cast and expense,.including reasonable
 attozney'a Eees, e~hall be paid by Lessee to Lessor afi demand,
 and Lessor shall not be limited in proof of any damages which
 Lessor mny c2.aim against Y.easee arising out of or by reason
 of T.ess~ee's failure to provide and keep i.n ford insurance as
 .►faresaid, to the amoutat of the 9.nsurance pzemium or premiums
 nvt paid or incurred by Lessee and `which would have been payable
 upon HUC}I .~.J19UZ2lT1CC~ but I.esegr shall also be entitled to recover
 xs damages for such breach, the uninsured amount at any loss
 (to the extent of any deficiency in the insurance required by
 the provisions of this Lease), iiama~ge9, costs and expenses
 of snik, including reasonable counsel fees, suffered oz incurred
 by reaspn of damage to, ox destruction.of, .the Demised Premises
 or any part thereof, accuzring during any. period When Lessee
 shall have failed oz neglected to provide insurance as aforesaid.
 Upon the expiration of this I.ea~e, the unearned premiums upon
 at~y such transferable insurance policies issued pursuant to
 .the terms of this Lease shall be apportioned only i~f Lessee
 shall not then be in default in keeping, obm~rving or performing
 any of the terms, covenants, agreements, provisions, conditions
 ar limitations contaisied in this Lease on I,essee'a part to be
.kept, obe~zved ar performed.

           Section 6.03. Undez no circumstances shall either
 the exercise by Lessor of the right granted in this.Azticle
 6 to enter upon the remised Premises foz any purpose specified
 herein and fake all such action thereon as may be nec,easary
 therefor, ar the exercise o~.any other right ar remedy granted
 to Lessor under Article 18 of this Lease ox any other provision
 of this Lease tq cure, prevent or take any other action with
 respect to any default by Lessee, constitute an eviction of
 Lease, zesult in a termination of this Lease, or fn any mariner
.whatsoever zelieve Lessee from liability to pay net rent and `
 additional zerit as i.n this Lease provided or from the keeping,
 observance and performarrce of any other covenant, condf tion
 and agreement an the part of Lessee to be kept, observed and
 performed under this Lease.

            The exercise of any such right by Lessor shall not
 alter, abridge, supersede or o~herwine affect the obligations
 of Lessor under this Lease ~.o give any notice required by Articles
 18 or 19, or under any other provisions of this Lease.

            ~'he 'provisions of this Section 6.03 shall have no
 application to T,essor's right to .terminate this Lease pursuant
 to notice of tezmination given undez ~zticla l8 of this Lease
 ox tc+ Lessor's zi«hts to enter, re-enter or to obtain possession
 of tte Demised Premises following t~crmination of this Lease
 in accordance with ,the previsions hereof .

                                    .~.~TICLE "7

               REPAIRS AND MAIN^tENAIv`C~ OF THE DEMISED PREMISES

            Section 7.01. T.:.rcuclout the tern of t'~is Lease,
  Lessee, at its eo].e cost and expense, s2:a1~ take 3aod care of




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        raised Premises bnd shall keep the same in good order and
       Lion, and make all necessary :repairs thereto, interior
an exterior, structuzal and non-structural, ozdinary ~►nd extra-
cardinary ox radical, foreseen and unforeseen. When used in
thie~ Article 7, the kern 'repairs" eh all include all necessazy
replacements, rene~+als and alterations.' All r' epairs made by
Lessee shall be at least equal-in quality and class to the original
MOx~C.   Lessee shall comply Witt► nl]. laws and ordinances With
respect thereto and do every other act or th~ng for th e safety
and presezwation thereof which may be nea~ssary by reason of
any excavation, subsurface construction, remadel,inq ar other
building operation upon any adjoining property o= street, avenue,
alley, or passageway.                       _

           Section 7.02. Lessee shall put, keep and maintain
a7.1 por~iana of the Demised Premises; and the sidewalks, curbs,
entrances, passageways and all areas adjoining the same in r~
clean and ordexly condition, free of dirk, rubbish, snow, ice,
and unlawful obstructions.

  '.      Section 7.03. Lessor shall nok be required to furnish
any services or fa~ci.l.~ties or to make •any repairs or alterations
in ox to the Demi.eed Yrett~i.ses. Lessee heraYsy assumes the full
and sole responsibility for the condition, operation, repair,.
replacement, maintenance and management of the Denii.sed Preml.ses.

                                   ARTICLE 8

             COMPLIANCE WITH LAWS. ORDxNANCES AND REGULATIONS

              Section 8.01. Throughout the term of this Lease,
 Lessee, at its sole cost and e~ense, shall prompt],y remove
       ialation and shall promptly comply with all. present and
       e l.ati+s, ~ordir►ances,• orders, rules, regulations and require-
 me s of all. federal; state, and municipal governments, courts,
 departments, commisaiorts, boards say national or local Insurance
 hating Bureau, ox any other body exeraisinq functions similar
 to those of any of the fbregoi.ng, ]radical, foreseen or unforeseen,
•ordinary as well as exrraordinnry, which may be applicable to
 the Demised PrEmises, or any part thereof, or the sidewalks,
 curbs, vaults, passageways, ells/s, entrances, coverings or
 xooflike structures placed upon or extending over any sidewalk,
 or any space adjacent t3sereto, or Leo the use or manner of use
 of the Demised Premises, ar any part thereof, or the oNners,
 lessees .or occupants there,af, whetbez or not arty sx~ch law, ordinance,
 order, rule, regulation ar requ,irement shall necessitate radical
 structural changes, additions, or ~.mpravements, or the z~moval
 of slay structure, encroachment ox projections, ornamental or
 structural, ~onta or over 'the streets adjacent to the U.emised
 Premises, or onto ar over property contiguous or adjacent thereto,
 and xhether or not the correcCian or remnval so necessitated
 ghaJ.I. have been foreseen or unfore$een or why: _~ the same. shall.
 iaval.ve radical or exCraord,ina.ry ~onstruckion         tether, dispositfon.

           Section 8.02. L,s~ae shall likewise ob~~rve and         comply
with, or eh~tJ.]. cause to be observed and cot~li.ed with, all     the
zequfre.ments of all.pol.icies of public liability, fire and       other
insurance at any time in force with respect to the Demised         Premises.




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          Section 8,03.' Lessee uhall have the xight, aftex
  'ar written notice to Lessor, to contest by appropriate legal
    eedings, diligently conducted in good Eaith, in the name
     s5ee or Lessor ar both, Without cast.ar expense to Lessor,
the validity or application of any law,:ordinance, order, zu~e,
regulation or requizement_of ~2te nature refezred to in Secti6n
$~O1 hereaE, eub~ect to th'e following:

                 (a} Zf by the terms of any such law, ordinance,
          order, rule, regulation ;o~ requirement, compliance
          therewith pending the prosecution of any such pro-
          ceedinq may legally be delayed without the incurrence
          of au~y lien, cl~arge, ].i~ability or penalty of any kind
          tsgaiast t2ie Demised Premises or Lessee's leasehold
          interest therein and ~ritho'ut subjcatinq Lessoz to
          any liability, civil or crimirYal, far failure so tb
          comp7~y therewl.th, Lessee "may delay compliaizYce there-'
          wit2~i ax+tll. khe final determinaCion of such proceeding.

                (b) If any lien, chttrge oz civil liability wouJ.d
          be incurred by reason of any such delay, Lessee never
          theless, on the prioz written consent of Lessoz (such
          consent not to be unreasonably withheld), may contest
          as aforesaid tsz~d delay as aforesaid, pzovided that
          $uch delay wvu~d not subject Les9oz to criminal. liabi-
          li~y and ~.es~ee, upon zequest by Le~sar;• (1) furnishers
          security, reasonably s.atiefactaxy to Lessor against
          any lose oz i~juzy by .reason of suoh co»test~oz deJ.ay,
          the same to beyplaced into an escrow account at Lessee
          or asiother reputable bank (and deliver: to Lessor a
          receipt and acknowledgment that'such security xill be
          he].d and nppl~ed pursuant ~o the tezZns of this Section
          9.01, and 42) prosecutes Ghe contest with due diligence
          and in good faith.
           I.essoz'shall, at Lessee's soJ.e coat and expense, includ-
     easianable counuel fees, execute artd deliver any appropriate
papeza which. may t~ necessaxy or,proper to permit Lessee to
contest the•vali~ity or applicaCion of any such law; ordinance,
order, rule, zegulation or xequizement.

                                 Ax~zcLE s
          CHANGES. ALTERATIONS AND NEW CONSTRUCTION BY LESSEE

           Section 9.01. Lessee shall have the right any time
.and from time to time dur3.rr, the. term of khis Lease, to make,
 at its sole cost and expense, changes and alteza~tions in, to
or o~ the Demised Premises, subject, however, in a1J. cases to
 the following:
                (a) NO,fiCXllCtU~2lX change ax alteration involving
           in the aggregate an estimated cost of mote than Twenty-
           Eive Thousand and G~/100 Aol.lars (525,000.00) shaJ.l
           be undeztaken eiccept after ten ;i0) days' pzicr written
           notice to Lessor and Mortgagee of the fee,
                                 f
                (b) Cta stzu.--.~aral change o:- ,alteration; involving
           in the aggregate ~. est3.mated cost of more than Twenty-
           five Thousand a.:,e :,J/i00 ;.oll:azs (52,000.00), including
           any such~change o~ alt~ra~ion in connection with any




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         restozation required by Article 1S or 16 hereof, shall
         be made without the prior written consent of Lessor
         and Mortgagee of the fee, such canse:nt of Lessox not
         to be unreasonably withheld or delayed.

              (c1 No change or alteration shall be undertaken
        until Lessee shall have procured and paid for, too
        far as the aarae may be required from time to time,
        all permits and authorizations of any federal, state,
        or municipal gQver:vaent or departments, ar sub-divisigns
        of any of them, havi.ng~' juxisdictian. T,essor shall
        jai.n in tt~e application for such pezu►its or authoriza-
        tian~ whenever such action is"necessary

             (d) Any change or alteration shall, when completed,
        be of such a character as not to reduce the value
        aid utility of the Demised Premises below its value
        and utility immediately before such change or alteration.

               (e) l+ny change or ~lteratian shall be made promptly
         (unavoi8able delays excepted) and .fn good and workmanlike
         mariner and in compliance with all applicable pexmits
         and authorizations and building and xaning laws and
         with all other laws, drdinance~, orders,'rules, regula-
         tiona and requirements of all federal, state, and
         meznicipal governments, .departucents, cai~uaissioz~s, boards
         and officers, any national ar local Ynsurance Rating
         Bureau, yr any other bpdy hereafter exercising functions
         similar to those of any of the fpregoing.

             ~(~). The co>t of any such change or alteration
        shall b~ paid i.n cash or its equivalent, sa that the
        Demised Premises shall at all times be free of liens
        for labor and materials supplied or claimed to have
        been supplied to the . Demised Premises and free from
        any encumbrances, chattel. mortgages, conditional bi21s
        of sale, or security interests, except any Mortgage
        an the fee.

               (g) Whenever appropriate the fire insurance
        with "Extended Coverage", as required tb be maintained
        during the tezm~af this Lease in Section 5.01 of Article
        S hereof, shall be adapted to provide, during any
         period of building construction, for Builder's Risk.
        Insurance wriY.ten on the Completed Value form. Work- .
         men's compensation insurance covering all persons
         employed in canr~ection.with thF work and with respect
         to whom death or bodily injury claims could be asserted
         against I.essar, Lessee ox the Demised Premises, and
        general liability insurance, inclu8inq. as the insured
         ~.essee acid I.essar with limits of not less than Five
        .Hundred Thousand and 00/100 Dall.ars (SSOO,000.OU)
        in the event of bodily injury or death to one person
         and not less than Qne•Mil~ion nollars 00/COQ ($1,000,000.00)
         in the event of bodiJ.y injury or death to any number
        of_persans in any one accident and with limits of
        not less that one Hundred Thousand and 00/100 Dollars
        ($100,000.00) for property damage, shall be maintained
         by Lessee at Lessee's sole cost grid expense at all
        times when any work i~ in process in connection with
         any change or alteration; provided, however, that
         t}Ye above minimum limits shall not be less 'than those
         then being required Qursuant to the provisions of




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     Article 5 of this Lease. All such workmen's compe~sa-
     tion nnd'liability and property damage insurance shall
. be in company or companies of recognized responsibility,
    •which axe.~icensed to do,busine~s in the Commonwealth
     of Pennsylvania and ~+hich have been approved in c+riting
     by the Lessor as to the qualiEicatians of the 3.nsurers
     an4 the nmaunks of insurance to be written by each,
     such approval not to 2>e unreasonably withheld, and
     all policies, or, in the case of bodily injury and
  •  property damage liability insurance. certificates thereof,
_    issued by the respective insurers, bearing notations
     evidencing Ehe payme~,t of premicuns or accompanied by
     othex evidence eatinfactary to Lessor of 9t1C}1 payment,
    •shall be delivered to Lessor.


                                      -ARTICLE 10

                               ' ~ISCKARGE OF LIENS
                               .          y
                  Section 10.01, Lessee shall not cxeate or permit to
       be created oz to remain, and shall discharge, any lien, encusnbr•ance
       ox charge (levied an account of any Imposition or any mechanic's,
       laboreX'~ or materihlmnn'a lien ox~ any mortgage, conditional
       sale, title retention agreement, security interest ox chattel
       mortgage, or otheraisel which► might he or become a lien encumbrance
       ox charge upon the Demised Premises any part thereof or the income
       therefz'om, having any prfozity ax preference over or ranking
       on a parity with the estate, rights and interest of Lessor in
       the Demised Premiae9 or any part thereof or the income therefrom,
       and Lessee -shall not suffer any other ma~ttez oz thing, whereby
       the estate, rights and interest of Lesson 'in the Demised Premises
       or.any part thereof or the income theref roin might be impaired;
       provided that any Imposition may, after the same becomes. a lien
       on the Demised ~xemises, be paid or contested in accordance with
          icl.e ~ of th~.s Lease and any mechanic's, laborer's or materialman's
          n may be discharged or contested in accordance with Section
         .02 of this Article 20.

                  Section 10.02. If any mechanic's, laborer's ar material-
       tnan's lien shall at any kime be filed against'the Demised Premises
       or any part tf►ereof, Lessee, within thirty (30) days after notice
       of• the filing thereof, shall cause the same to be dischaxged
       of record by payment, deposit, bond, =order cf a court of competent
       •jurisdiction or othenaise or may contest sac:: claim as provided
       in Ehe Mechanics' Lien Law. If Lessee shall £ail to cause such
       lien to be discharged within the period a~oxesaid, unless it is
       c4ntestirig such lien, then, i'n •add~tion :. any other right or
       remedy, Lessor may, but shall not be abl: e,_ed to, discharge
       the same either by paying the amount claimed to be due ar by
       procuring the discharge of suc: lien by deposit oz by bonding
       proceedings, and in any such event Lessor shall be entitled,
       if Lessor so elects, and Lessee, in the:name of Lessor shall be
       entitled, to compel the prosecution of an.nction for the enforcement
       of attch lien by the lienoi sad to Fay the anount of the judgment
       in favor: of the ~ienor with interesrt, costs• anc al:owances. Lessee
       agrees to reimburse end to pay to the Lesson o:: derand any amount
       so paid by Lessor and all costs and expenses, ir.~ludi:,g reasonable
        attorney's fees, incurxed by Lessor w: connection therewith,
        together. w:.th interest thereon at ~t e rats of one-:~a:f percent
        (~1/2t) pax annum over ~`~e then pr-r..E iate in Philadelphia from
        the xespeccive aateg of Lessor's nor.i~e ~~ Lessee of the making
        of the pr~y~~nt or the incur~•:.rg of the cost and expense, including
        such attorney's fetes.




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          Section 10.03. Nothing in this Lease contained shall
be deemed or construed in any Wxy as constituting the consent
o request of Le9sor, express or implied, by inference or other-
      to any cantractor~, sub-contractor, laborer or materialman
    the performance of any labor or the furnishing of any materials
  r any specific improvement, alteration to, or repair of the
Demised Premises or any part thereof or far the demolition or
the replacement of the Demised premixes or any part thereof.


                                ARTICLE 11

                                 NO WASTE
          Sectfon 11.01. Lessee shall not do ox suffer any
waste or damages, disfigurement or .injury to the Demised Premises
and the Building ar any part thereof.


                                ARTICLE 12

                         USE~OF DEMISEp PREMISES

           Section 12.01. Lessee may.use the bemired Premises
foX' any lawful ptarpose; pxovided,:however, the -use and identity
of any assignee or aublesace ehell~be subject to appzoval as set
fo~Cth in Section 17.01 below.

          Section 12.02, Lessee shall not suffer or pexmit
the Demised Premises or any portion thereof, to be used by
the public, as such, without restkiction or in such manner as
might reasopably tend to f[apair L'essor's title to the'Uemised
Premises or any portion thereof, or in such manner as might
reasonably make possible t claim or claims of adverse usage
or adverse possession by the public, as such, or of implied
d dication of the Demised Premises or any portion thereof.


                                AIiT'ICLE 13   '

               ENTRY 4N DEMISED PREMxSES aY LESSOR, ETC

           Section 13.01. Subject to Lessee's reasonable secuzity
requizements and in add.itian to Lessor's right of entry under
any other- pxovisioa of this Lease, Lessee shall permit T.essor
and its authorized representatives to enter the Demised Premises
a~ a13 reasonable tl.mes for the purpose o~ (a) inspecting the
same and (by making,any necessary 'zepairs thereto and perfozrnxng
any xork therein that may be necessary by reason of Lessee's
fa£lure tv make any such repairs or perform any such work or
to cgmmence the sauna for twenty ('ZO) days after written notice
from~I.essor and hereafter proceed with due di.li.geace or without
notice in case of an emergency. Nothing herein contained shall
cx'eate or 1.mply any duty upon the part of Lessor to make any
such repairs ax do_any such ravxk; and per~oxmance thereof by
Lesser shall nat constitute a Waiver of Lessee's default in
fAi ling to perfoz~n the •same.

          Section 1 ,02. Lesscz may during the progress of
any work ~n the Deml.se~ PremisEs, and Bui_3a.ng keep and store
therein ox elsewhere upon the Demised Prerises and Building
all necessary materiAls:, tools, supplies ar.:: equipment. Lessor




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    shall not be liable for inconvenience, annoyance, disturbance,
    1 ss of busine"ss ox other damage pf Lessee or any sublessee
        eason of making such repairs or the perfo nuance of any such
          or•on account of bringing materials, tools, supplies and
    e ipment into ar thrqugh the Demised Premises. and Building
    during the course thereof and tie obligations acid liabilities
    of Lessee under this Lease shall nat be affected or released
    thereby, unless Lessor u»reasonably interferes with Lessee's
    use and occupancy of the Demised Premises under the circumstances.
    in making any such repairs or performing any such wank, howevez,
   ,Lessor shall proceed with a mini~roum of inconvenience to the
    Lessee ax the subtenants of the Lessee.       .

              Section 13. 3, . Lessor shall have the right to enter
    the Demised Premises and Building at all reasonable times during
    usual business hours for the purpose of show.inq the same: (i)
    to prospective purchasers at any time, ar (•i.i? to prospective
    2~ssees at any time during the lases year of the tetra of this
    Le ase or any renewal to rra hereof.

                                    AF2TZCLE 14

                            ItJD£M21T~'ICATZON OF 'LESSOR

              Section ].4.01. Notwithstanding any provision to the
    contrary contained in this Lease, Lessee shall indemnify and
    save harmless Lessor against ar~d from all liaY~ilities, obligations,
    damages, penalties, claiius, costs, charges and expense, including
    reasonable architects' and attorneys' fees, which may be iznpoaed
    upon or incurred by or asserted against Lessor by reason of
    any of the following occurring during the te~cm of Phis Lease

                   (a)   any work or thing done in, on ar about the
              Demised Premises or any part thereof;

.     (b) any use, non-use, possession, occupation,
 condition, operation, maintenance or management o~
 the remised Premises az any part thereof ar any street,
 avenue, a11eK, sidewalk, curb, passageway entrances,
 or space adjacent thereto;

                   (c) any negligence on the part of Lessee or
              any of its agents, contractors, sexvants, employees,
              licensees, or invitses;

                   {d) any accident,. injury or damage to any person.
              or property occurring in, on or about the Demised
              Premises or any part thereo:; or any •street, avenue,
              a12ey, sidewalk, curb, passageway, entrances, or space
              adjacent thereto;

                   (e) any failure on the part of Lessee to keep,
              observe acid per~vrm any of the terns, covenants, agree-
              ments, prow-isions, ca:Zitions or lizr~itations contained
              in this Lease' an Lessee's part' to be <ept, observed
              and performed; or

                   (f)~ any tax attributable to ~he execution, delivery
              or recording of th:.s Lease, or any ahendment .thereof.
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          In case any action or proceeding is brought against
    or by reason of bny such claim, Lessee upon written notice
     Lessor shall at Lessee's sale cost and expense, including
   noel fees, resist or defend sack action ox proceeding by
counsel ngproved by Leasor in writing, such approval not to
be unreasonably Withheld, but no .approval of counsel shall be
required in each and every instance where the claim ig resisted
or defended~by. counsel of an insurance carrier_obligat~d so
to resist or defend such claim.


                                ARTICLE IS '

                         'DAM7IGE OTt~ DESTRUCTION

             Section 15.U1. In case of damage to or destruction
 of the Building by~fire or other casualty, Lessee, at I.~ssee's
 sale cost and cxpenae, t~r3~ether or not the i.,nsurance proceeds,
 if~nny, shn12. be sufficient for the purpose, and irrespective
 af-the amount of any loss, shall restore, repair, replace,. ~rebuild
.or altez the same as nearly as possible to ids value, condition
 and .character immediately prior to such damage or destruction
 ar With such changes ar altezations,as may be made at L.essee's
 election in conformity with and subject to the conditions of
 $~C~~tfh 9.41 hereof.   Such restoration, repairs, replacements,
 rebuilding yr al.teratione shall be commenced with due diligence,
 and in good faith, and prosecuted with due diligence and in
 gooci. falEh, unavoidable delays excepted. In the event of damage
 to or the destruction of the Demised Premises resulting in s
 3oas exceeding in the aggregate £ifteen Thousand and 00/100
 Dollars (515,000.003 exclusive, of Lessee"'s. trade fixtures and
 equipment as described in Section 4.03 above, Lessee shall promptly
 give written notice. thereof to the I;essar.
           Section 15.02. All insurance money paid pursuant

~    rticles S and 9 of this Lease on account of such da~age
     estructian, Less the actual cost, fees and expenses, if
axty, incurred in connection with the adjustmenti of the loss.,
and, any amount deposited for demolition and reconstruction pur-
guant to the provisions of. Section 9.02 0~ this Lease, shall
be applied to the payment of the cost of the aforesaid demolition,
restoration," repairs, replacement, rebuilding or alterations,
iltcluding the cost of temporary repairs or the protection of
property pending the completion or permanent restoration, repairs,
replacements, rebuilding oz alterations (all of which temporary
 repairs, protection of property and permanent restoration, repairs,
replacement, rebuilding. or alterations are hereinafter collectively
referred to as the "restoration"), and shall be paid out from
time to time as such restoration progresses upon'the written
7rega~st of Lessee which,ehall be accompanied by the following:

           (1) ~ A certificate signed by Lessee, dated not more
                 than thirty (3Q~ days prior to such request,
                 setting fysrth ti~~e following

                 (a,) Thnt the sum then requested either has been
           paid by Lessee, or is justly due to contractors, sub-
           contractors,, materialmen, engineers, architects or




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'other persons who have rendered services ar furnished
 materials For the restoration therein s~eal.fied, the
 names and addresses of.euch p~rsans, a brief d~scrip-
 tion of such services amd materials, the several amounts
 so paid or due to each'.af said persons in respect
 thereaf~ that na part of such expenditures has been
 or ie being made the basis, in any previous ar tt►en
 pending request, for the vtithdrawal of in9urartce money
 or has been made ou.t of the pxoceeds of insurance
 received by Lessee s and that the sum Y.hen requested
 c3aes not exceed the value of ~2te services and materials
 described in the cerxificate.      ~

      (b) That, except £or the amount, if any, staCed
(pursuant to the foregoing subclause (1)(a) i'n such
certificate to be dui fpr services or materials, there
is no outstanding indebtedness lEriawn to the persons
sign~.ng such certificate, aftex due inquizy, which
i.a then dus for labor, wages, materials; supplies
oX se~rvicea in connection Wi~h~such restoration which,
if unpaid, might becvme~the bas3,s of a vendor's, mechanic`s,
laborer's or materialmari's statutoxy or similar lien
upon such restoration, or upan~~the Demised Premises
or any part thereof or:upan I.~ssee's leasehold interest
therein.

      (c1 That the cost, as estimated by the persons
 signing such certificate•, ,of the restoration required
 to be done au;bsequent.to the date of such certificate
 in order to complete the same, does not exceed the
 insurance money, plus any amount depasitec] by Lessee
 to defray such cast and remaining i•n the hands of
 the holder of such funds after payment of the sum
 requested is such ceztYficate.

 (2)   An opinion of counsel selected by the Lessee,
       tole search, or other evidence satisfactory
       to Lessor, and Mortgagee of the fee, to tt~e effect
       that•thera has not been filed with respect to
       the demisted Pzemises ar any part thezeof or upon
       Lessee'-s leasehold ~.nterest therefn any vendor's,
       mechanic's, laborer's, materxalman's or other
       similar lien which .has not been dxscharyed of
       record, -exc.ept such as will be discharged by
       payment of the amount then reque9ted.
                             i
 (3)   Whe»ever such restoration shall i.ndolve the can-
       struction of any foundation wall or any building
       wall, evidence, during the course of such con-
       struction, by s-aryey and a survey reading .thereon,
       roads by a duly licensed surveyor, that there
       are, as a r~sul~ of such cor.sbruction, no encroach-
       rnents on adjoining property objectionable to
       Lessor and Mortgagee o~ the fee, nn encroachments
       on any street ar avenue oc;ectionable ~o Lessor,
       and Mortgagee of the fee. a~.d ,na phys:.cal conditions
       that would ~enciex title to the Devised 'Premises
       unmarketabie_
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          (4)   Evidence satisfactory to Lessor, and Mortgagee
                of the fee, of compliance with the provisions
                of Article 9 of this .Lease, relative to changes
                and alterations.

    •     Zn the event that any such restoration involves expendi-
tures in excess of Fifteen Thousand and 00/100 Aollars (515,000.00)
exclusive of Lessee's trade fixtures and equipment as described in
Section d.03 above, the Certificate required by clause (1) af•
this Section 15.02 shall be a certificate signed by the architect
or engineer in charge of the restaratior►, if any, who shall
be selected by Lessee. and approved in writing by Lessor, and
Mortgagee of the #ee.

          Upon compliance with the foregoing provisions of this
Section 15.02, there shall, out of such insurance money, be
paid or caused to 'be paid to Lessee or the persons named (pursuant
to subclause (1)(a] o£ this Section 15.02) in such certificate,
the respective amounts stated therein to have been paid by Lessee
or to be due to them, as the case may be.

          If the insur~ztce money at the time available for distri=
bution, less the actual cost, fees and expenses, if any, iAcurred
in cannectian with the adjustment of the •loss, shall be i.nsuffici.ent
to pay the en tare cost of such .restoration, Lessee shall pay
the deficiency without delay.

           Upon the receipt by Lessor and Mortgagee of the fee,
of satisfactory evidence, of~the_character required by clauses
(1). ('2), (3y and (4) of this Section 15.02, that the.restoratiori
has been fu21y completed and paid for in full and that there
are no liens of the character referred to therein, any balance
of the insurance money at the time available for distzibution
shall be paid to Lessee; .u~less,.at such time', Lessee is in
default under any canditivn, agreement or covenant in this Lease
   unless this Lease has been terminated pursuant to the provisions
   Section 15.03 of this•Lease, in any of which events such
   once of the insuraince money shall be paid to Lessor and Mortgagee
of the fee.                                                         _,

          Section 15.03. Zf the Demised Premises shall be damaged
or destroyed by fire qr other casualty within three (3) years
prior to the expiration of the term of this Lease, and~the cost
of restoration exceeds the sum of Fifteen Thousanc and 00/100
Aollar~ ($15,000.00) exclusive of Lessee's trade Fixtures and
equipment as described in Section 4.03 above, as estimated by
a licensed architect or a licensed professional engineez, selected
by Lessee and approved in writing by the Lessor (such approval
not tp be unreasonably withheld and, if Lessox fails to a'ct
thereon within ten (10) days from time of receipt thereof, Lessor
shall be deemed to have approved Lessee's selection) Lessee
shall have the option of        ~

          (a)   restoring, repairing, replscinc„ rebuilding or
                altering the Building as p_cviaed in ~:;i.s Lease,
                or

          (b)   terminating this Lease by written noti:,e to Lessor
                given within sixty x(60) days after such destruction
                or damage; pro.videa

               (1) the applicable insurance shall be valid
          and subsisting and adequate to cover such destruction
          ox damage without any defenses to the payment thereof
          by the insurance carxiers based upon acts or omis~si.ans
          of Lessee;


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               (2] Lessee shall have timely and in good faith
•        instituted, and thexeaftez shall have been busily
         engaged in prosecuting with continuity, all work neces-
         sary to protect and secure the occupants of the Building
         t►nd the public from and against injury to persons
         and property; and if any note ox notice of violation
         a~ any city, state, or federal law, ordinance, order
         ar requirement, sha21 have been noted in pr issued
         by a cl.ty, state, ar .federal yovernmerit or departments
         thereof, having jurisdiction, against or affecting
         tha Demised Fxemises or any part thereof as a result
         of such damage •or destruction by fire ox other casualty,
         Lessee sha1T'have timely and 1n good faith instituted,
         and thereafter shall have been engaged in prosecuting
         with cont3.nuity all work necessary to comply with.
'.       any such note or notice; and the in~uras~ce proceeds
         shad 'be used by the Lessor to the extent necessary
         to defray, or to make reimbursement for, the reasonable
         expense of such temporary repairs for such temporazy
         repairs far such protection of~the'occupants of the
         Demised Premises and the public from and against injury
         to persons an`d property and the"reasonable expense
         of the curing of any .such violative result3.ng from
         such damage or destzucti.on; provided, however, as
         a condition precedent to such defrayment or such reimbursement,
         T.essee shall have furnished to Lessor a certificate
         signed by Les9ee setting forth that the sum requested
         either has been paid by Lessee oz Xs justly due to
          contractors, sub-contractors, materialmen, engineers
          pr other persons who have zendered services'or furnished
          materials in connection with such temporary •repairs
         'or the curing of such violation as therein specified,
         .khe names and addresses pf such persons, a brief description
          of Such services at~d materials the several amounts
          so paid ar due to each of such persons with respect
          thereto, and that the sum requested does not exceed
          the reasonable value of the services and materials
          described in the certi.fi~ate;

               (3) this Lease at the time of such election
          to terminate is unencumbered by any mortgages, judgments
          or other liens created'or suffered by Lessee (to be
          evidenced by a search of a'title company reasonably
          acceptable to the Lessor and to be furnished by the
          Lessee at Lessee's sole cost and.expenae), free from
          any defau]~ts and •free from any pending matters that
          might develop into~addi.ti.onal rents unless the Lessee
          shall secure the payment of, such additional rents
          to the I.essoz~in a manner satisfactory to Lessor and,
          except as. to those items o~f adda.tie:zal rents specified
          in subdivision id), Sectzon 5.0.2 of this Lease, to
          the extent of their then coverage by valid and subsisting
          rent or zental value insurance;
               (4j there are no .tenants oz occupants of the
          Su~.2ding whose rights will conta.n~e after termination
          except fox those appzaved by Lessor and with respect to
          whom Lessor has specif ically approved such rights con-
          tznuing after tezminati.an.
                                                               far
            In the event of such ter~rinatian, Lessee, except
re3.mburs.ement to the extent set foz'th above ?.. subdivision (21




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    of subparagraph (bj of Chis Section 15.03, shall not be entitled
    to xny portion of the proceeds of any insurance, including bvt
    not limited to, the fire insurance, all of which shall became
    the sole pzoperty of the I.essoz, except to the extent ot~ex~ise
    pirovided in Articlea 5 and 15 hezeof.

               At the ti.mc of such teriufnat3on Lessee shall aC once
    surrender niid deliver up the pemis~d Pzemises. and the fixtures,
    -machinery and equipment therein into the possession and use
    of Lessor z~r~d remove without fraud ar delay all of its trade
•   fixtuzes and- personal effects unrelated to the operation of
     the Demised Premises. I.easee upon such termination, surrender
     and removal, shall except as provided in this Section 15.03,
    be released end dischaXged Pram any and all obligations that
    would have otherwise thereafter accrued had this Lease riat been
     sa te=rainated .                 ..

                Section 15.04. Excep ~ as provided in section 15.03
    hereof, no destruct3.on af, or damage to, the Demised Premises
    or airy part thereof kiy .fire or'any other casualty shall permit
    Lessee to surrender this Lease oz Bhall relieve Lessee from
    its liability to pay the full net rent and additional zent payable
    under t2i3,s Y:ease, ar from any of its other obligations under
    Phis Y.ease, aind•Lessee .wai.ves any rights now or hereafter conferred
    upon ~t by statute or okherwiae to quit or surrender this Lease
    ar the Demised Premises oz any park thereof, or to any suspension,
    diminution, aibatement ox reduction of rent an account of any
    such destruction nr damage.


                                     AI2TICI.E 16

                                    CONDEMNATIQfl

               Section 16.01. In the event the Remised Premises
    or auiy part thereof shaXl be taken or condemned fbr a public
    or quasi-~Subli-c use, rent shall abate in .proportion to the square
    feet of Iet~sed ground so taken_   if by reason o'f such taking, in
    lessee's reasonable judgment the Demised Premises are no longer
    suitable for the use then being made of the~Demised Prernisea,
    I.eeaee may terminate this Lease 'ay. giving 'written notice thereof
    to Lessor .(which ~aatice will set forth in detail the reasons for
    such termination) within thirty (3Q) days after the date of such
    taking:

              Section 16.OZ. In tre event of any such taking, i.n
    whole.oz in pant, Les,aee xaives unto Lessor, Mortgagee .o: the
    fed and the condemning authozity 'any and all damages or awards
    fob such taking and any award or compensation shill belong to
    and be paid to Lesson. Notwithstanding the aforesaid, any award
     for the takirsg of Lessees personal pr~~er~y or far Lessee's
     coat of inovirig, or any other award shall be payable to Lessee
    .provided the same does lot diniriish- the award othez►+is.e payable
     to the Lessor or Mortgagee of`tre fee.          .

         •    The foreyoinc provisions of this Se~~ion are. subject
    to the following provisiory i.:. ?avor of ..esscr, and Mortgagee
    of the fee of the Demised Premise.

              Lessor aY1d M~ort~agEe c~ the fe'~ of the pemised Premises,
    shall be eat;tled to recei.~re., ;o ~~llec~ directly from the con-
    demnor, and to retain the satire award or awards, with i~t.erest
    thezeon (Lessee's interest ir. any such award or awards being
    expressly hereby assigned za :.essor), anc Lessee hereby agrees




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to execute such further assignments as may be required by any
condemning authority to assure payment of the enfiire award or
~s to Lessor.

          Arty amounts sa paid to Lessor to which .Lessee is entitled
hereunder, shall be paid to Lessee.


                                 AFB' I CLE 17

                  MORTGAGES, ASSIGNMENTS, SUBLEASES AND
                     TRANSFERS qF LESSEE'S INTEREST

             Section 17.01. The Lessee may not assign this Lease,
either in'whole oz in part, or lease, sublease or mortgage the
Demised Premises or l,eac~hold interest of the Lessee,_or any.
part or parts thereof without the ~pxior written consent of Lessor,
which consent will. not be unreasanably.wi~thheld. No such assignment,
lease oz sublease, shal.2 relieve Lessee from its obligations    '
in this Lease COltth~hCCI. Any assignee oz transferee shall,
at the time of such -assignment ox transfer, assume, by agreement
in writing acceptable to Lessor, al,1 the terms, covenants and
condi~i.ons of phis lease thezeafter to be perfozmed by the Lessee
etad shnl.]. agree to be bound thereby. A merger of Lessee with another
entity 'sKall not be deemed an assignment hereunder,
           Section 1 .02. Lessee shall keep, observe and perform
each and evexy term, covenant, agreement, provision, condition
and I.imitati.on to be kept, obsezved and pezfor►ned by the Lessee
as landlord or as sublessor under all present or future subleases
and shall and does hezeby indemnify and agree to hold Lesson
harmless from any and all liabilities, cl~im~ and causes of
action azising thezeunder.


•                               Axz~zcLE a.s
               CON027'IONAL LIMITATIONS--DEFAULT PROVISIONS

          Section 18.01. If any one•ar more of the following
events Efn this Lease sometimes called "Events of Default")
shall happen':.

                 (a) if default 3ha11 be made, whether by operation
          of   law pr otherwise,~by selling, assigning a.r tzansferring
          or   in any way disposing of this Lease ar of the interest
          of   the ;,essee thereundez except as provided in Article
          17   of this Lease;

               (b) if default shall be made in the due and
          punctual payment .af any net rent ar additional rent
          payable •.u3der this Lease•ar any part hereof when and
          as the same shall became due and payable, and such
          default shall continue for a period of Ten (10) days
          after written notice thereof from bessar to Lessee;

                 (c) if defau7.t shall 'be made by J.essee in keeping,
          observing ar performing any of the terms, covenants,
          agreements, pzavisions, conditions or limitations
          contained in this Lease on Lessee's part to be kept,
          observed or~pexformed, other than those referred to
          irt 'the foregoing subdivisions (a) and (b) of this
          Section, which da not expose the Lessor to criminal
          liabflity., •and such default shall continue for a period
          aF tHenty (20) days after written notice thereof from



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         Lessor to Lessee, or in the case of such a default
         or a contingency which .cannot with due diligence and
         in good faith b~ cured within twenty (26) days, and
         the Lessee fails to proceed promptly and NitYi due
         di].i.gence and in good faith to cuz~e the same and thereafter
         to prosecute the curing of such default with due diligence
         and _in good :faith (it being intended thtst in connection
         with a default, which does not expose Lessor to criminc►1
         liability, nat susceptible of being cured with due
         diligence and in good faith within twenty (20) days
         that the time of Lessee within which to cure the same
         shall be extended for such a perl.od as may k,e necessesry
         fau the curing w~.th due diligence and .in 9rood faith) ;
         and

               (d) if the Secretary of Banking takes possession
          of Lessee's assets without further posaibi],ity of appeal
          or reviews                        ~ ,

then and i,n any such event Lesaor~at any time thereafter during.
the continuance of any such went of Uefau].t may at its option
give written notice to Lessee specifying such Event of Default
or Events of Default and stating that this Lease and the term
hereby demised shall expire and terminate on the date specified
in such notice, which shal]. be at least ten (].0) days after
the givi.nq of such notice, and upv~ the date specified in such
notice, this Lea9e and the term hereby demised and all rights
of Lessee under this Lease shall expire and tezminate.

           Section 18.02. Upon any expiration or termination
o    ~.s Lease, Lessee 9ha11 quit-and• peacefully surrender the
     ed Premises (in the manned' and upon the teZms and cpnditions
s    orth in section 15.Q3 hereof) to Lessar~ and Lessor upon
or at any time after any such expiration ar termination, may
without further notice, enter upon and re-enter the Demised
Premises and possess and repossess itself thereof, by force,
summary proceedings, ejectment or otherwise, and may dispossess
Le9see and remove Lessee and all other parsons and property
fzom the Demised Premises and may have, hold and enjoy the Demised
Pzemises and the right to receive al.l rental income of and from
the same.

            Section 18.03. At any time or from time to time after
any such Qxpiration or termination, Lessor may relet the Demised
Premises or any part thereof, in ~.he name of Lessor or :therwi.se,
 foz such •term ox terms (which may be greater or less th~.~ ~ the
 period which would otherwise save constituted the balance of
'the term of this Lease) and on such conditions {'which may include
concessions or free rent) as I.essoz, in its uncontrolled discretion,
 may determine and may collect and receive the rents therefor.
 Lessor shall in no way be res~ansible or liable far any failure
 tp rel.ec the Demised Premises or any part thereof, or far any
 failure to collect any rent die upon any such relettzng.

           Section 18.04. No such expiration or termination
                                                        and obliga-
of th»s Lease shall relieve Lessee of its liabilities
       under this I.ease,:and such liabilities and obligations
tians
                                                        the event
shall survive any such expiration or term3.nation. zn
                                                    not the Demised
p~ any such expiration or termination, whether or
                                                      ~.essee shall
Premises or any part thereof shall have been re let,
                                                   effect at the
pay to the Lessor a sum Pqual to the'net rent in
                                                           be paid
date of termination and khe additional rent required to
                              such expiration or termination  of
by Lessee up to the time of                           what would
      Lease, and thereafter Lessee, until the e7d of
 h~   been the term of this Lease in the absence of
                                                     such expiration



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or termination, sha21 be liable to Lessor for, ar,d shall pay
to Lessor, as and for liquidated and agreed curzent damages
for Lessee's de~'aul.t

               (a) the equivalent of the amount of such net
          renC and the +~c~ditionnl ►.`ent which would be payable
          under this Lease by Lessee if t2iis Lease were still       _
          in effect, less
               tb) the net proceeds o~ any reletting effected
          pursuant to the provisions of Section 18.03 hereof,
          aFter ded,uctin.g all 7~essor's expenses in connection
          ~,rith such reletting, including, without limitation,
          all repossession cost,.brokerage comin~.ssions, legal
          expenses, reasonable attorney's fees, alteration.costs,
          and expenses, reasonable for such reletting.

       •   Tn the event of the accurzence o~'~any Event of Default
as defined !.a 18.01 hezeof, then the rent for the entire unex-
pized•baltince of the term of phis Lease, as well as all other
charges, payments, costs and expenses hereY.n agreed 'to be paid
by the 'Lessee, ar at the option of Lessor any part thezeof,
and including the five percent chargeable by Act of Assembly
to the Lessor, shall, in addition to any and all installments
of rent alzeady due arYd payable and in~arrears and/oz .any other
charge or payment herein reserved,, included or agreed to be
Erected oz collected as zent, and/or any other charge, e~cpense
or~cost herein agreed to be paid by the Lessee which may be
due and payable and in arrears, be. taken to ~e due and payable
and in arz'ears as if~_by the terms and provisions of this Lease,
the whole bt~lance of unpaid rent and other charges, payments,
taxes, costa and expenses were an that date payable in advance;
and 3f this Lease ox any part~theredf ins assigner"1, ox if the
p7Cemises or any part thezeaf xs•sub-let, Lessee hereby irrevocably
constitutes and appoints Lessor Lessee's aggnt to collect the
rents due by such~ ,xssignee or sub-lessee and apply •the same
to the rent due hereunder without in any way affecting I,ess.ee's
~gatian to pay arty unpaid balance of .tent due hereunder.

          Nothing he rain contained shall' limit oz prejudice
the right of the Lessor to•prove fox and obtain as damages by
reason of such expiration pr termination, an zunount equal .to
the maximum allowed by any statute or rule of lam in effect
a~ the time when, and governing the proceedings in which, such
damages axe to be proved, whether or not such amount be greater,
equal ta, ox less than the amount of the difference referred,
to above.

           Section 16.OS. Lessee hereby expressly waives, so
f~1C as permitted by law, the service o~ any notice of intention
to enter or ze-enter provi~zd for in any 'statute, or of the
inatitutian of legal proceedings to `that ar►d, and T,essee, for
and an behalf of itae2~ and all persons claiming through or
unde~c Lessee also waives any and a12 right of zedemption or
re-entry-or re--possession or to restore the operation of this
Lease in case Lessee shall be dispossessed by a judgment or
by warrazit of any cpurt or judge• yr in cage of entry, re--entzy
                                                               termination
or re-poasess~on by Lea~sar or in case of any expiration or
   this Lease.   Lessor:and Lessee,  so far as  permitted by  law,     .
of                                                         counterclaim
hereby aaive.trial  by jury in any  action, proceeding  ar
bzaught by either of the parties hereto against Ghe other an
any mattez whatsaeve= arising cut of ar inn any way connected
                                                             ~,essee's
with phis Lease, the rel,atianship of Lessor and Lessee,
use of occupancy of said Premises Ar say claim of injury or
damage. The teZ7[IS "enter", "re-enter.", ".entry" Or "re-entry~~


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as used in this Lease are not restricted to their technical
legal meaning.

            Section 18.06. No failure by Lessor or by lessee
     znszst upon the strict perforrrianc~ of any term, covenant,

~     ement, ,provision, condition ox limztatiort of khis Lease
     to exercise any right ox remedy consequent upon a breach
thereof, and no acceptance by the Lessar of.fu21 or partial
rent during the continuance of any such breach, shall constitute
a waiver of any such breach or of such terms covenant, agreement,
provision, condition ar,limitation. N.o te~m,`covenant, agreement,
provision, condition or limitation'of this Lease to be kept,
observed ar performed by Lessor or by Lessee, and no breach
thereof, shall be waived, altered or modified except by a written
inatrwnent executed by Lessoz or by Lessee, as the case rosy
~be.   No waiver of any breach shall affect or aJ.tez~ this Lease,
but each dud every terse, covenant; agreement, provision, condition
isnd limitation of this Lease shal7~ continue i.n full force and
effect witi~ respect to any othex the» existing az subsequent
breach thezeof.

           5e.ction 18:07.' Subject to the provisions of Section
.6.03 of this Lease, in the event af;any breach by Lessee of
any of the terms, covenants, agreements, provisions, conditions
ciz limitations contained in this Lease, 7,essar shall be entitled
to enjoin such breach and shall have the right to invoke any
right oY remedy t~l.I.owed at law or in equity or by statute or
otherwise as though ezttzy, re-entry, summary proceedings, and
other remedies were not prov3.ded fox in .this Lease.

           Section 1.8.08:- £ach right or remedy of Lessor provided
for in this I..ease shall be cumulative and shall. be in .addition
to every other -right ox remedy provided for in this Lease or
now or hereafter existing at l.a~a ar i» equity ox by statute
v.r athexwise, and the exercise ox the beginning of the exercise
by Lessor of any one oz moze of the rights or remedies provided
for in this Lease or now or hereafter existing at ].aw ox S.n
    ity ox by statute or otherwise shall not preclude the simul-'
     ous or later exercise by Lessor of any or al.l other rights
     emedies provided fax in this Lease or now ox hereafter existing
at law or in equity 'or by statute oz otherwise.

          Section 1.8.09. Lesc.or s3~a11 not have the right to levy
oX diatrazn upon the property o~ customers of Lessee and depositors.


                                AftxICLE 19

                   INVAI.:IDITY OF PARTICULAR PFtOVZSIONS

            Section 1,9.Q1. If any provisions of this Lease or
the a~plicatio» thereof to any person or situation shall, to
any extent, be held invalid or unenforceable, the remainder
df tha.s Lease, and the ~p}~lication of such provision to persons
oz situations other thaxi those as ito which zt shall have been
held valid ar unenforcEable, shall ns~t be affected thezeby,
and shaJ.l. continue valid and be en€orced to the fullest ex Lent ,
p.exmitted by law.




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                               ARTICLE 2U

                                NOTICES .

           Section 20.01. All notices, demands or requests by
~or to Lessee sha21 be deemed to have been properly served
ar given i~ sent by United. States registered or cextifiea mail,
xeturn receipt requested, postage prepaid, addressed to Lessee
to the attention of Community banking Division, Real Earate
O~ficez,~ Girazd..Aank, Broad aztd Chestnut .Streets, Phl.ladelphi.a,
Pennsylvania, 19101, or to such otheir address within the continental.
Iiraita of the United States and to the attention of such other
-party A9•LC88E@ may from time to time designate by written notice
to 1.cssor. A].I notices, demar►cis or requests by Lessee to Lessor
ox by any party ~,o Lessor 'shall be•deemed to have been properly
served or given if sent by United States ~registered~or certified
iaail, return receipt requested, postage pzepaid addressed to.
I.essoX, 2330 Sansom Street, Philadelphia n Pennsylvania, or to
suoh other address with3.n tha continental limits of the United
States and to the attention of such party as Lessor may from
time to time designate by written notice to Lessee.


                               AFtZ'IC7.E 2'1

              CONpITZON OF AND TI7`LE TO DEMISED PREMISES

           Section 21.01. Lessee represents that the aemi.sed
Freraises, tt~e title thereto, the possession and occupancy thereof,
the sideKalks and structures adjoining the sat►ie, any surface
and any subsurface conditions thereof, and the pzesent-uses
and non-uses ther.eof~ have been examined by i.essee and that
Lessee accepts the same in the condition or state in which they
tow are, or any of them.nbw is, without representation, covenant
ox wazranty, express or 3mplied, .in fact oz in law, by Lessor
and without recourse to Lessor, as to the title thereto, possession
      ~upancy thezeo~ and.encumbzances thereon, appurtenances,
      acute, condition ar usability thereof or the use or uses
t     iah the l7emised Premises or any part thereof may be put.


                               ARTICLE 22

                  QUIET ENJOYMENT--CQNVEYANCE HY LESSOR

           Section 22.U1. Lessee, upon paying the net rent and
all additional rent herein provided for an keeping, obsez-vi.ng
and performing all the teams, covenants, agY~eements, provisions,
~anditioris and limitations of phis -Lease oa Lessee's part to
be kept, observed and performed, shall quietly have and enjoy
the Demised Premises duxing the tex-m of this T.e.ase without hindrance
or mole~~atlott by anyone lawfully claiming by, ar through Lessor,
subject,. however,. to the exceptions, reservations and canditians
of this Lease.

           Section. 22.02 In the event Lessor herein or any
successor owner of the Demised Premises shal.l.canvey ar otherwise
dispose of the Demised Premises,. then, upon the transfer of
any insurance policies and other monies or any' other securities
belonging to Lessee held by Lessor.,~pursuant to the provisions
of ~tiis Lease, to any such purchaser of the pemised Premises,
all liabilities and obligations on the part of Lessor or successoz
owner as Lessor under this Lease, accruing after such conveyance
ar disposal, shall cease ar~d terminate az~d each successor purchaser
of the pemised Premises shall, without further agreement, be
bound by Lessor's covenants and oblzgatians but only duzing
the peziod of such ownership zespective7.y. Notha.ng herein contaiitied
shall be construed to release I.essar or any sucessor ownez as


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Lessor from ainy liability or obligation which othexwise matured
prior to the effective dAte of such conveyance or disposal.

                                ,ARTICLE 23

                      AEFINITION OF CERTAIN TERMS, ETC.

          Section 23.01.    For Purposes o£ •this Lease, unless
the context otherwise requires:

                (a1   The term "Demised Premises" shall be 8efined
          as set forth in Article 1 hereof .

               (b) The term "Lessor" sha21 mean Landlord, these
          tezms being mutually interchangeable, and shall also
          mean only the or~mer for. the time being of the Demised
          Premises.

               (cj The tezm "Lessee'' shall mean Tenant, thesQ
          tezms being mutually interchangeable, and shall mean
          any patty in possession of•the Demised Prerai~es, either
          physically az;in legal, effect, pursuant to the tezms
          of this Lease and, shall be deemed to i~.nclude kt~e plural.
               (d) The term "Lease" shall mean this Lease and
          the ~.easehold estate c7cea~ed thereby.
                (e) The:~term "sublease" shall mean any lease
          or .occupancy bf the Building ox any .part thereof other
          than this Lease sand the term "Sublessee" or "sublessee"
          shall. mean a tenant or-occupant to a sublease.

               (f) The berm "£ee Mortgage" shall mean a mortgage
          vn the Demised' Premises,' and the ternr "Fee Mortgagee"
          shall mean any holder of, such Fee Mortgage and the
          9uCcesgors or assigns thereof.

                (g) The term "unavcSidable delays" shall mean
          ~snforeseen delays due ~.o strikes, acts of God, unavail-
          abl:lity of J.abor oz materi~a~,s , enemy action ~ civil
          commotion, governmental restrictions relating thereto,
          fire, unavoidable casualty or similar causes beyond
          the reasonable control of Lessee.

          .Sect,ion 23.02. The captions of. this Lease axe for
convenience and reference only and in no Way define, limit or
describe the scope or intent of this I.ease~nar in any way affect
this Lease.

          Section 23.03.: The table of contents preceding this
                                                      convenience
Lease but under the same cover is for the purpose ,of
and reference only and ~s not to be deemed or construed in any
                                                         or aznenda-
way as part of this Lease, nor as supplemental thereto,
tory thexeof.
          Section 23.04. This Lease shall be construed anfl
enforced in accordance with the laws of the Commonwealth of
Pennsylvania.




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                   C~FYfZFICATES HY LESSOR ANA LESSEE

          Section 24.01,       Eithez' patty agrees at any time and
from time to time upon nat-less than twenty i2U) days' prior
notice by khe othez party to execute, acknowledge and deliver
    he other party a statement in writing certifying that this
    e is unmodified and i.n full force and effect (ar if t2tere
   e been modifications, that the Lease is in full force and
effect ns mo8ified and stating the mcsd.ificatians) , and the dates
to which the net tent and the additional tent have been paid,
and stating whether or nab the other party ~.s in default in
keeping., observing or gezforming any term, covenant, agreement,
provision, candi.tiot~ ar:limitation contained in this Lease and,
if in default, specifying each such default, it being intended
that any such statement delivez-~ed pursuant to this Section 24.01
may be relied upon by the other party or any prospective puzchaser
of the Eee or any Mortgagee thereof or any assignee of any Mortgagee
upon the Fee of the Demised Premises ar any proposed purchaser
of the leas~hald.        -

                                     ARTICI.~ 2S

                                    SU84RIaINATXdf1

          Section 25.01.       Lessee hereby subordinates its intezest
in the Demised Premise& under this Lease to any mortgage ar
deed of tzust now or~here~.fter created by Lessor upon the Uemise.d
Premises or upon the bui:ld~.ng of which the same are a part.
Lessee ►ill, at any kime upon request of Lessor, execute for
zecarding an agreement, of which a copy shall be delS.vered to
Lessee, further evidencing the suboz~dination herein made. Lessee's
subordination is upon condition that the possession of Lessee
will not be disturbed end this Lease will not tern►in-ate so long
as Lessee is_not in default hereunder. I.essoz agrees to obtain
a ran-disturbance agreement insuz.inq Lessee's quiet possession
from every holder of a mortgage on the Demised Premises.

                                     ARTICLE 26

                                       RECCiRD XNG

          Section 26.01. Tha parties gill at any time at the
zequest of either one, pzomptly execute duplicate originals
of an instrument, in recordable farm, which wiI.l constitute
a short form of Lease setting forth a description of the premises,
the term of this Lease anci any other portions hezeof, except
the rental pzovisians., as either party may zequest.

          IN WITNESS W}iEREOF, 7'he LQssor and Lessee have each
raus~d this Lease to be duly ex,~cated the day and year first
above Written.


[corporate seal}                            GIRARD TRUST BANX


Attest:
                           ~   iLfQd        Vice .•Pz~sident

                                i                                ,,~?            -, ..
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                                      ASSIGNMENT AND ASSUMPTYOI`t OF LEASES



             ~             ASSIGNM~Et~t'I' AI~1D ASSLIMPT~ON bF. LEASES ("Assigtiinent"), dated as of
            1JA.c P~~~ 1.       , 2001, lietw~en.MEL.LON BANK, N.A., a national banking association
            ("Assignor") and C1TI7..EI~IS BANK OF PENNSYLVAMA, a bank chartered under the laws of
            the Commonwealth of Pennsylvania (".+~lssignce").

                            Foy good and valuable consideration, the adequacy and receipt of which are
            hereby acknowledged by Assignor, and for the purpose of effecting the sale, conveyance and .
            Transfer by Assignor to Assignee oEall Assignor's right, title and interest in and to all those
            certain leases, agreements, and other documents described on Exhibit A hereto (collectively, the
            "Leases"), and intending to be legally bound hereby, Assignor and Assignee agree as follows_

                            1. Ass~nment by Assignor. Assignor hereb}i sells, assigns, transfers, sets over
•           and delivers to Assignee a!l of Assignor's ~i.ght, title and interest, as tenant or otherwise, in, to
            and under the Leases, and atl Assignors right, title and interest, whether written or oral, and
            efaim in, to anri wader the Leases, together with all rights, pawerx, privileges, options and other
            benefits aEAssianor under the Leases.

                          2_ Assumption by Assignee. Assignee hereby assumes all the obligations and
           agrees to perform and comply viith ait the terns and provisions oEttie Leases to the extent arising
           and to be performed and complied with by Assignor From and after the date hereof_

                           3. Further Assurances_ Assignor hereby covenants that Assiguar will, at ar~y time
           and fronn time to time upon written request therefor, execute and deliver to Assignee such
           documents as Assignee may reasonably request in order to fully assign and h~ansfer to and vest in
           Assi~ee and protect Assignee's right, title and interest in and to the Teases and the rights,
           powers, privileges, pptions and other benefits of Assignor intended to be tx-ausferred and assi~ed
    • _    hereby,:oc to enable Assignce is reali2e upon or otherwise enjoy sack rights, powers, pRvileges,
           options and other benefits in anti to the Leases_

                    4_ Representations and Wair~nties_ .Assignor repc~esents and warrants that it is the tenant
           under the T.eases. Assignor shall indemnify Assignee for any breach of the forgoing
           repmsentation and warranty only in the manner and subject to the limitations fox indemuificatian
           for breach ofrepreseuta6on or wamaaty set forth in Axticle XV oE'the Purchase of Assets and
           Liability Assumption Agreement dated as of July 16, 2001 between Mellon Financial
           Corporation and Citizens Financial Crroup, Inc. (the "Purchase Agreement")_ Except as set forth
           in the first seritenc~ of dus Seciiari 4 and to the extent, if any, set forth in the Purchase
           Agreement, Assignor makes absolutely no c~eprescntations or wax~r~nties, express or einplied, with
           respect to the Leases.

                           5. Power of Attorncv_ Assignor hereby constitutes and irrevocably appourts
           Assignee, its successor and assigns, the tzue and lawful attorney of Assignor, coupled with an
          intemst, with fiilf power of substitutioq for the benefit and at the expense of Assigaee, to
          institute and prosecute all proceedings which Assignee may deem proper in order to wllect,
          assert or enforce any claim, right or title of any kind in ox to the Leases assigned hereunder, to
          defend or coruprornise any and alt actions, suits ar pcaceedings in respect ofthe Leases, and to do
          all such acts and things in.relation thereto as Assignee shall deem advisable at Assignee's soIc
          cost, risk and expense. Assignor aclonowledges that the foregoing powers are coupled with an -
          intorest and shalt be irrevocable by Assi~or in any manner or for any reason. .Assignee shall be
          entitled to retain for its awn account all sums callectcd pursuant to the foregoing powers.




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          .w.t~..~.•u Joni ra ...
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                    b_ Counterparts. This Assignment aiay be executed in any number of
     counterparts, each o~ which shall constitute one and the same instrument, and any party aerero
     may execute this Assignment by signicb any such counterpart.
                     7. Successors and Assigns_ This Assignment shad be binding upon and inure to
     the benefit of the parties hereto and their respective successors and assigns_

                   8_ Governing Law. This Assignment, with respect to each oPthe T..eases, shall be
     governed by and coastnied in accordance with the laws of the State ofDetaware.

                      9. Consistent Provisions_ Notwithstanding any other assignment agreement or
      any other document, including without limitation, any consent or guaranty, which Assignor
      and/or Assir~nee or any of their affiliates, may have entered into with or for the benefit of any
      thud party, or any estoppel certificace from a third party for the benefit of Assigixor or Assignee,
      in connection with the sale; coa~evanee and transfer of any of the Leases from Assignor to
     Assignee, Assignor and Assignee agree that, as between Assi~oor and Assignee, the terms and
     provisions oPthis Assignment and the Purchase Agreement shall govern and control the rights,
     obligations and liabilities ofAssignor.and Assignee wict~ respect fo the Leases, and, as tiettiveen
     .Assignor and Assignee, no such other assignment agreement or document slaatl enlarge or
     diminish the rights, obligations and liabilities of Assignor and Assigiee with respect to the
     I,cases as set forth in this Assignment and the Purchase Agreement
                    IN WITNESS WHEREOF, Assignor and Assignee have caused'rhis Assignment
     to be executed as of the day and year first above written.
                                                    MELLON BANK, N_A_
                                                                                 ----
                                                    gy:       ~ ~c «             ~,

                                                    Title.   Diane Reufzef                     e—~
                                                             quthorixe   e



                                                   CITIZEI~IS BANK OF PENNSYLVAN


                                            .      ~y.       ~j                            _        .
                                                   Title:         '~J ✓ (~




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                                                                                        PSFS {PA)
                                                                                       Germantown
                                                                                               L-235



                                              EXHIBIT "A"


                      That certain Least dated 12J01 /1971 by Nancy Realty Company, as Landlord and
               MelEon Bank, N.A. (successor)„ as tenant covering space known as 5500 Cem~at~town
               Avenue, Philadelphia, PA.




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